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    1                         UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
    2                              SOUTHERN DIVISION

    3      UNITED STATES OF AMERICA,

    4                   Plaintiff,

    5       v                                   No. 19-CR-20026

    6
           SANTOSH REDDY SAMA,
    7
                      Defendant.
    8      _________________________/

    9
                                       PLEA HEARING
   10
                        BEFORE THE HONORABLE GERSHWIN A. DRAIN
   11                        UNITED STATES DISTRICT JUDGE
                        Theodore Levin United States Courthouse
   12                        231 West Lafayette Boulevard
                                  Detroit, Michigan
   13                          Wednesday, May 15, 2019

   14    APPEARANCES:

   15
           For the Plaintiff:           MR. RONALD WATERSTREET
   16                                   MR. TIMOTHY MCDONALD
                                        MR. BRANDON HELMS
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   24    Reported by:                Merilyn J. Jones, RPR, CSR
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         None
    3
         WITNESSES:    DEFENDANT
    4    None

    5    OTHER MATERIAL IN TRANSCRIPT:
         Proceedings                                                      3
    6
         EXHIBITS:                      Identified                   Received
    7    None

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    1                   Detroit, Michigan

    2                   Wednesday, May 15, 2019 - 10:59 a.m.

    3                   THE CASE MANAGER:       All rise.    The United States

    4    District Court for the Eastern District of Michigan is now in

    5    session.    The Honorable Gershwin A. Drain presiding.

    6                   You may be seated.

    7                   The court calls the criminal matter United States

    8    of America versus Santosh Reddy Sama.           Case Number

    9    19-CR-20026-5.

   10                   Counsel, please state your appearances for the

   11    record.

   12                   MR. WATERSTREET:       Good morning, your Honor.

   13    Ronald Waterstreet appearing on behalf of the United States,

   14    along with Brandon Helms and Timothy McDonald.

   15                   THE COURT:     All right.      Good morning.

   16                   MR. HELMS:     Good morning.

   17                   MR. MCDONALD: Good morning, your Honor.

   18                   MR. MANSOUR:     Good morning, judge.       May it please

   19    this Honorable Court, Victor Mansour on behalf and with Mr.

   20    Sama, he's standing directly to my left.

   21                   To his left is the interpreter, who he will

   22    introduce himself, because I don't want to embarrass him by

   23    mispronouncing his name.

   24                   THE COURT:     Okay.

   25                   THE INTERPRETER:       Good morning.
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    1                   THE COURT:     Good morning.

    2                   THE INTERPRETER:       My name is Jogeswara Rao

    3    Peddiboyina. I can go by Joe.

    4                   THE COURT:     Okay.

    5                   THE INTERPRETER:       I will do my best to interpret

    6    the Telegu language.

    7                   THE COURT:     Okay.    I'm going to have my case

    8    manager to administer the interpreter's oath to you.

    9                   THE CASE MANAGER:       Do you solemnly swear that you

   10    will translate the oath in such questions as shall be put to

   11    this defendant from the English language to the Telegu language

   12    and answer from the Telegu language to the English language to

   13    the best of your ability?

   14                   THE INTERPRETER:        Yes.

   15                   THE CASE MANAGER:       Thank you.

   16                   MR. MANSOUR:     And, judge, just for a point of

   17    clarification, Mr. Sama and I have been able to communicate

   18    most of the time without an interpreter.

   19                   THE COURT:     Okay.

   20                   MR. MANSOUR:     There are some words, obviously, in

   21    legal English that are difficult for him to comprehend and

   22    understand.

   23                   If it's okay with the Court, I'll propose on an as

   24    needed basis for the interpreter, and I think that would be

   25    best.
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    1                   And I just want to make sure if the Court is okay

    2    with it, I can have that okayed for my client?

    3                   THE COURT:     I am.

    4                   And is your client okay with it just so we know?

    5                   MR. MANSOUR:     Are you okay with the interpreter on

    6    an as needed basis?

    7                   THE DEFENDANT:     Yes.

    8                   THE COURT:     Okay.    All right.    Why don't you two

    9    approach, all three of you approach the podium.

   10                   All right.     Mr. Mansour, so as I understand it,

   11    your client, Mr. Sama, wants to tender a plea of guilty to the

   12    charge in the indictment; is that correct?

   13                   MR. MANSOUR:     Yes, your Honor.

   14                   THE COURT:     Okay.

   15                   All right.     And, again, this is a case where

   16    there's no Rule 11 Plea Agreement; is that correct?

   17                   MR. WATERSTREET:       Correct.

   18                   MR. MANSOUR:     Correct.

   19                   MR. WATERSTREET:       One was tendered, but it was

   20    rejected, and as part of the colloquy, if the Court could go

   21    through that, I'd appreciate that as well.

   22                   THE COURT:     All right.      So, let's see, Mr. Sama,

   23    I'm going to have my case manager administer an oath to you on

   24    the case, and let me just say, don't hesitate to stop me and

   25    get some clarification if I say something that you don't
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    1    understand.

    2                   THE DEFENDANT:     Okay, sir.

    3                   THE CASE MANAGER:     Raise your right hand, please.

    4    Do you solemnly swear or affirm the testimony you're about to

    5    give to the Court in this matter here pending shall be the

    6    truth, the whole truth, and nothing but the truth?

    7                   THE DEFENDANT:     Yes.

    8                   THE CASE MANAGER:     You have to speak up.

    9                   THE DEFENDANT:     Yes.

   10                   THE CASE MANAGER:     Please state your full name for

   11    the record.

   12                   THE DEFENDANT:     Santosh Reddy Sama.

   13                   THE COURT:    All right.       Mr. Sama, I'm going to ask

   14    you a lot of questions.       I know that your attorney has reviewed

   15    most of these matters, if not all the matters, with you

   16    already, but the law requires that I go over things again with

   17    you here in court on the record.

   18                   THE DEFENDANT:     Okay, sir.

   19                   THE COURT:    All right.       So try to keep your voice

   20    up so I can hear you and my court reporter who's to my left can

   21    also hear you.

   22                   THE DEFENDANT:     Okay, sir.

   23                   THE COURT:    So, Mr. Sama, do you understand if you

   24    are under oath and if you answer any of my questions falsely,

   25    your answers may later be used against you in a separate
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    1    prosecution for perjury or false statement; do you understand

    2    that?

    3                   THE DEFENDANT:     Okay, sir.

    4                   THE COURT:     And what's your full name again?

    5                   THE DEFENDANT:     Santosh Reddy Sama.

    6                   THE COURT:     Okay.   And how old are you?

    7                   THE DEFENDANT:     I'm 29 years old.

    8                   THE COURT:     And how far did you go in school?

    9                   THE DEFENDANT:     I completed my Master's Degree.

   10                   THE COURT:     Okay.   And did you complete your

   11    Master's Degree here in this country or in your native country?

   12                   THE DEFENDANT:     In this country in California.

   13                   THE COURT:     Okay.

   14                   THE DEFENDANT:     But it got invalid.

   15                   THE COURT:     I didn't hear the last part.

   16                   THE DEFENDANT:     My Master's Degree got invalid.

   17                   THE COURT:     Okay.

   18                   MR. MANSOUR:     Did you catch that?

   19                   THE COURT:     I didn't catch the last two words.

   20                   MR. MANSOUR:     His Master's Degree was invalid

   21    after he completed it here in this country.

   22                   THE COURT:     Okay.   Thank you.

   23                   So, is it fair to say, Mr. Sama, that you can read

   24    and write and understand English pretty well?

   25                   THE DEFENDANT:     Yes, sir.
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    1                   THE COURT:    Okay.   And, again, if I say anything

    2    that you don't completely understand, stop me and I'll try to

    3    explain it in a little more detail with the interpreter.

    4                   THE DEFENDANT:     Okay, sir.

    5                   THE COURT:    Okay.   All right.     And so, have you

    6    been treated recently for any type of mental illness or

    7    addiction to drugs or alcohol?

    8                   THE DEFENDANT:     No, sir.

    9                   THE COURT:    And are you currently under the

   10    influence of any drugs, medication, or acholic beverage?

   11                   THE DEFENDANT:     No, sir.

   12                   THE COURT:    And have you had a chance to look at

   13    the indictment that's been returned against you and some other

   14    people?

   15                   THE DEFENDANT:     Yes, sir.     Yes, sir.

   16                   THE COURT:    Okay.   And have you had a chance to

   17    talk to Mr. Mansour about it?

   18                   THE DEFENDANT:     Yes, sir.     I talked to him.

   19                   THE COURT:    And has he been able to answer any

   20    questions you've had about it?

   21                   THE DEFENDANT:     Yes, sir, he did.

   22                   THE COURT:    And are you satisfied with the advice

   23    and counsel you received from him up to this point?

   24                   THE DEFENDANT:     Yes, sir, I am satisfied.

   25                   THE COURT:    Okay.
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    1                   And so, do you understand that the normal maximum

    2    sentence for this offense is a sentence of up to five years in

    3    prison; do you understand that?

    4                   THE DEFENDANT:     Yes, sir.

    5                   THE COURT:     And also there's a potential fine in

    6    the case that could be anywhere from zero up to $250,000; do

    7    you understand that?

    8                   THE DEFENDANT:     Yes, sir.

    9                   THE COURT:    And also there is a potential period

   10    of supervised release which could be up to three years; do you

   11    understand that?

   12                   THE DEFENDANT:     Yes, sir.

   13                   THE COURT:     Okay.    And so do you feel like you

   14    understand the possible penalties involved in the case?

   15                   THE DEFENDANT:     Yes, sir.

   16                   THE COURT:    Okay.    And then, you should know that

   17    I'm also required to impose a special assessment in your case

   18    of $100; do you understand that?

   19                   THE DEFENDANT:     Yes, sir.

   20                   THE COURT:    Okay.    And so have there been any

   21    promises made to you about this plea that is part of your

   22    guilty plea here?

   23                   THE DEFENDANT:     No, sir.

   24                   THE COURT:    Okay.    And so you understand that if

   25    any promises have been made, I haven't heard of them so I'm not
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    1     bound by anything, you understand that?

    2                    THE DEFENDANT:    Yes, sir.

    3                    THE COURT:    Has anyone forced you to plead guilty?

    4                    THE DEFENDANT:    No, sir.

    5                    THE COURT:    Has anyone threatened you and told you

    6     that you must enter this plea?

    7                    THE DEFENDANT:    No, sir.

    8                    THE COURT:    And are you doing it freely and

    9     voluntarily?

   10                    THE DEFENDANT:    Yes, sir.

   11                    THE COURT:    And are you pleading guilty because

   12     you are guilty?

   13                    THE DEFENDANT:    Yes, sir.

   14                    THE COURT:    All right.      And so you're a citizen of

   15     what country?

   16                    THE DEFENDANT:    India, sir.

   17                    THE COURT:    India?

   18                    THE DEFENDANT:    Yes, sir.

   19                    THE COURT:    And you are not a citizen of the

   20     United States?

   21                    THE DEFENDANT:    Yes, sir.

   22                    THE COURT:    You mean, that's correct, you're not a

   23     citizen of the U.S.?

   24                    THE DEFENDANT:    No, I'm not a citizen of the

   25     United States.
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    1                   THE COURT:     Okay.    All right.    And so, do you

    2     understand that this plea of guilty is probably going to result

    3     in you being removed or deported, you understand that?

    4                   THE DEFENDANT:     Yes, sir.

    5                   THE COURT:     And do you also understand that there

    6     are also other consequences when you plead guilty to a felony,

    7     you understand that?

    8                   THE DEFENDANT:     Yes, sir.

    9                   THE COURT:     For example:

   10                   You can't hold certain offices.

   11                   You can't possess a firearm.

   12                   You can't get certain licenses.

   13                   There's a lot of additional consequences to having

   14     a felony conviction in pleading guilty here, you understand

   15     that?

   16                   THE DEFENDANT:     Okay, sir.      Yes.

   17                   THE COURT:     All right.      And do you have any other

   18     cases pending or are you on probation or parole for any

   19     offenses?

   20                   THE DEFENDANT:     No, sir.

   21                   THE COURT:     Okay.    All right.    And have counsel

   22     computed Mr. Sama's potential guidelines here?

   23                   MR. WATERSTREET:       Yes, your Honor.      The United

   24     States has determined his guidelines preliminarily are 41 to 51

   25     months.
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    1                   THE COURT:     Okay.

    2                   MR. MANSOUR:     And the defense disputes that.

    3                   THE COURT:     Okay.   What, Mr. Mansour, what do you

    4     believe the guidelines come to?

    5                   MR. MANSOUR:     I believe if -- I don't have it

    6     written down in front of me --

    7                   THE COURT:     Okay.

    8                   MR. MANSOUR:     -- but I believe it was 27 months,

    9     roughly, in that neighborhood.

   10                   THE COURT:     Okay.

   11                   MR. MANSOUR:     On a preliminary finding.         I still

   12     have -- there are still some numbers that need to be more

   13     accurately defined in order, it could be less.

   14                   THE COURT:     Okay.

   15                   MR. MANSOUR:     But based on what I'm aware of at

   16     the moment, it's right around the 27-month mark.

   17                   THE COURT:     All right.

   18                   All right.     So, Mr. Sama, I'm going to end up

   19     sentencing you down the road in several months, you understand

   20     that?

   21                   THE DEFENDANT:     Okay, sir.

   22                   THE COURT:     And there's a lot of things that I

   23     look at when I impose sentence.

   24                   THE DEFENDANT:     Okay, sir.

   25                   THE COURT:     And do you understand what guidelines
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    1     are?

    2                   THE DEFENDANT:     Yes, sir.

    3                   THE COURT:     Okay.   And do you understand that

    4     there's a dispute about what they actually are?

    5                   In other words, the government says they're one

    6     thing and your lawyer says they're something else, you

    7     understand that?

    8                   THE DEFENDANT:     Yes, sir.

    9                   THE COURT: And at the time of sentencing on your

   10     case I'm going to decide exactly what they are; do you

   11     understand that?

   12                   THE DEFENDANT:     Okay, sir.

   13                   THE COURT:     Okay.   So, I'll be looking at the

   14     sentencing guidelines when I impose sentence.             I'll also be

   15     looking at a pretty extensive presentence report that's going

   16     to go into your background and your history.

   17                   THE DEFENDANT:     Okay, sir.

   18                   THE COURT:     And then, I'm also going to be looking

   19     at law which says there are some very particular and specific

   20     things I have to look at in terms of deciding what the sentence

   21     should be; do you understand that?

   22                   THE DEFENDANT:     Yes, sir.

   23                   THE COURT:     All right.      So, again, I know that Mr.

   24     Mansour has talked to you about your trial rights, but I'm

   25     required to go over them again with you here in Court.
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    1                   So, do you understand that if you wanted to you

    2     could have a trial on this case and your trial could be by a

    3     jury or you could have a trial by judge if the government and I

    4     agreed; do you understand that?

    5                   THE DEFENDANT:     Yes, sir.

    6                   THE COURT:      And also at a trial you'd have the

    7     right to be presumed innocent and the government would have to

    8     prove you guilty beyond a reasonable doubt; do you understand

    9     that?

   10                   THE DEFENDANT:     Yes, sir.

   11                   THE COURT:     And then also at a trial Mr. Mansour

   12     could represent you throughout the entire proceedings and do

   13     all the things that lawyers do during the trial; do you

   14     understand that?

   15                   THE DEFENDANT:     Yes, sir.

   16                   THE COURT: And then the government would have to

   17     bring in witnesses to testify against you and Mr. Mansour could

   18     question and cross-examine those witnesses; do you understand

   19     that?

   20                   THE DEFENDANT:     Yes, sir.

   21                   THE COURT:     And then at a trial if you wanted to

   22     testify, you could do so, or if you decided you didn't want to

   23     testify, you could do that and your silence couldn't be used

   24     against you in any way; do you understand that?

   25                   THE DEFENDANT:     Yes, sir.
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    1                   THE COURT:     And then lastly as far as your rights

    2     go, do you understand that if you wanted to call witnesses to

    3     testify in your, on your behalf, I would help you bring in

    4     witnesses with subpoenas; do you understand that?

    5                   THE DEFENDANT:        Yes, sir.

    6                   THE COURT:     Okay.     And so, Mr. Sama, is it pretty

    7     clear to you that by entering this plea of guilty you will

    8     stand convicted of the charge and there will be no trial on

    9     your case; do you understand that?

   10                   THE DEFENDANT:        Yes, sir.

   11                   THE COURT:     Okay.     All right.   And so, in this

   12     case you are charged with conspiracy to commit visa fraud and

   13     to harbor aliens for profit.

   14                   And the indictment charges that this occurred

   15     sometime between February of 2017 and January of 2019, and so,

   16     tell me what you did in this case that makes you guilty of this

   17     offense?

   18                   And maybe as we've done in the past with these

   19     cases, I can have either counsel question Mr. Sama to establish

   20     the factual basis for the offense.

   21                   MR. WATERSTREET:        I'm prepared to do that.

   22                   THE COURT:     Okay.

   23                   MR. WATERSTREET:        May I proceed, your Honor?

   24                   THE COURT:     Yes.

   25                   MR. WATERSTREET:        Mr. Sama, you point out to the
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    1     judge you're not a citizen here in the United States?

    2                   THE DEFENDANT:     Yes.

    3                   MR. WATERSTREET:      And you're a citizen of India?

    4                   THE DEFENDANT:     Yes, sir.

    5                   MR. WATERSTREET:      And you came over here on a F-1

    6     visa?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. WATERSTREET:      Which is a student visa?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. WATERSTREET:      So, you came from India, you

   11     went to the U.S. Consulate, got approval, got the visa,

   12     correct?

   13                   THE DEFENDANT:     Yes, sir.

   14                   MR. WATERSTREET:      And then you first came here to

   15     the United States in 2014 on an F-1 visa to attend Atlantis

   16     University down in Miami, correct?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. WATERSTREET:      And you knew as a foreign

   19     student that your status to lawfully remain here in the United

   20     States was dependent upon you maintaining that status as a

   21     full-time student, correct?

   22                   THE DEFENDANT:     Yes, sir.

   23                   THE COURT:      You had to attend classes full time,

   24     correct.

   25                   THE DEFENDANT:     Yes, sir.
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    1                   MR. WATERSTREET:      And you had to make progress

    2     toward completion of your full course of study, correct?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. WATERSTREET:      And you're also familiar with

    5     the form called the Form I-20?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. WATERSTREET:      And I believe you have a number

    8     of conversations with the undercover agents about these I-20

    9     forms, correct?

   10                   THE DEFENDANT:     Yes, sir.

   11                   MR. WATERSTREET:      And you understand that these

   12     I-20 forms not only allow you to come into the United States

   13     initially when you applied and were accepted for Atlantis

   14     University but if you wanted to transfer to another university,

   15     right?

   16                   THE DEFENDANT:     Yes, sir.

   17                   MR. WATERSTREET:      And that is a very important

   18     immigration document that you would need if you wanted to

   19     travel outside of the United States and come back to the United

   20     States, correct?

   21                   THE DEFENDANT:     Yes, sir.

   22                   THE COURT:      And that was part of the process of

   23     maintaining your F-1 student visa status, correct?

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. WATERSTREET:      It allows you to apply for an
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    1     F-1 visa, correct?

    2                   THE DEFENDANT:     Yes, sir.

    3                   MR. WATERSTREET:      Proof that you're, your legal

    4     and academic status, correct?

    5                   THE DEFENDANT:     Yes, sir.

    6                   MR. WATERSTREET:      Can be used as an entry document

    7     for travelling?

    8                   THE DEFENDANT:     Yes, sir.

    9                   MR. WATERSTREET:      Allows you to participate in

   10     practical training?

   11                   THE DEFENDANT:     Yes, sir.

   12                   MR. WATERSTREET:      And it's a document that is

   13     obtained when you transfer from one school to another, correct?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. WATERSTREET:      Now the judge pointed out that

   16     this conspiracy took place between February of 2017 and January

   17     of 2019?

   18                   THE DEFENDANT:     Yes, sir.

   19                   MR. WATERSTREET:      Okay.    You first had contact

   20     with the University of Farmington back in February of 2017,

   21     correct?

   22                   THE DEFENDANT:     Yes, sir.

   23                   MR. WATERSTREET:      And that's when you made a phone

   24     call to the University of Farmington?

   25                   THE DEFENDANT:     Yes, sir.
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    1                   MR. WATERSTREET:      And that University of

    2     Farmington, for the benefit of the Court, is here in the State

    3     of Michigan, right?

    4                   THE DEFENDANT:     Yes, sir.

    5                   MR. WATERSTREET:      In Farmington Hills, Michigan?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. WATERSTREET:      And I believe, correct me if I'm

    8     wrong, it was sometime February 13th that you called the school

    9     to find out about attending the University of Farmington?

   10                   THE DEFENDANT:     I don't remember exact date, but

   11     it's month of February.

   12                   MR. WATERSTREET:      Okay.      You don't remember the

   13     exact date, right?

   14                   THE DEFENDANT:     Yeah.       I don't remember the exact

   15     date, but it's month of February.

   16                   MR. WATERSTREET:      Okay.      And the purpose of your

   17     phone call was to find out a little bit about this school and

   18     you eventually told them that you really weren't here to learn,

   19     go to the University of Farmington, you were there, going to

   20     attend to maintain your status?

   21                   THE DEFENDANT:     Yes, sir.

   22                   MR. WATERSTREET:      And you learned at that point

   23     the cost was going to cost, be $10,000 per year?

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. WATERSTREET:      But then you asked if there was
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    1     a referral discount if you were able to get other students to

    2     sign up to come to the University of Farmington?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. WATERSTREET:      And you negotiated that price to

    5     only $5,000 a year if you got other students to sign up?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. WATERSTREET:      And you said you would call back

    8     in half an hour?

    9                   THE DEFENDANT:     I don't remember half an hour, but

   10     I told him I would call back sometime -- I told him I'll call

   11     back him.

   12                   MR. WATERSTREET:      You don't dispute the fact you

   13     were going to call back with some students that you would refer

   14     to the school, correct?

   15                   THE DEFENDANT:     Yes, sir.

   16                   MR. WATERSTREET:      Okay.    And within a short period

   17     of time you had a friend calling with you and enrolling in the

   18     school?

   19                   THE DEFENDANT:     Yes, sir.

   20                   MR. WATERSTREET:      And you confirmed with the

   21     undercover agent that you knew he was not going to be attending

   22     classes?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. WATERSTREET:      And the undercover agent told

   25     you this was not approved by the Department of Homeland
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                                                                                          21


    1     Security?

    2                   THE DEFENDANT:     Yes, sir.

    3                   MR. WATERSTREET:      And that you must use discretion

    4     if you were going to talk to anybody about this program?

    5                   THE DEFENDANT:     Other than undercover agent?             Can

    6     you repeated it, sir?

    7                   MR. WATERSTREET:      Yes.

    8                   The undercover told you that this was not a

    9     practice that was approved by the Department of Homeland

   10     Security, correct?

   11                   THE DEFENDANT:     Yes, sir.

   12                   MR. WATERSTREET:      And he also told you you must

   13     use discretion when talking to other people about this?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. WATERSTREET:      And you replied that the student

   16     understood he would not be attending classes and he just wanted

   17     to continue to stay and live here, live in California?

   18                   THE DEFENDANT:     Yes, sir.

   19                   MR. WATERSTREET:      And that was -- do you recall

   20     the name of the first person that you referred?

   21                   THE DEFENDANT:     I remember Bhanu Pasula.

   22                   MR. WATERSTREET:      Bhanu Pasula?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. WATERSTREET:      B-H-A-N-U.

   25                   THE DEFENDANT:     Yes, sir.
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                                                                                    22


    1                   MR. WATERSTREET:      P-A-S-U-L-A.

    2                   THE DEFENDANT:     Exactly, sir.

    3                   MR. WATERSTREET:      And he was one of your

    4     roommates?

    5                   THE DEFENDANT:     He's not my roommate, but he's my

    6     friend.

    7                   MR. WATERSTREET:      Okay.    But you had roommates in

    8     2017 as well, correct?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. WATERSTREET:      Did some of your roommates sign

   11     up as well?

   12                   THE DEFENDANT:     Exactly, sir.

   13                   MR. WATERSTREET:      And who was that?

   14                   THE DEFENDANT:     My roommates:      Vinesh Kumar --

   15                   MR. WATERSTREET:      Vinesh Kumar, what's his last

   16     name?

   17                   THE DEFENDANT:     Pollisetty.

   18                   MR. WATERSTREET:      Pollisetty.

   19                   THE DEFENDANT:     I don't know some guys full names,

   20     but I know Suresh Kandala, Vinesh Kumar, Bharath Kakireddy and

   21     Nitesh Kumar.

   22                   MR. WATERSTREET:      Those people eventually signed

   23     up for school as well?

   24                   THE DEFENDANT:     Some more names, but I can't

   25     remember some names.
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                                                                                    23


    1                   MR. WATERSTREET:      Okay.    Originally you were happy

    2     with the price of $5,000 a year, but you heard that other

    3     people were getting paid and you wanted to get paid for bring

    4     students in as well, correct?

    5                   THE DEFENDANT:     Yes, sir.

    6                   MR. WATERSTREET:      And the agent said that any, if

    7     you direct, refer, recruit any students that you would be paid

    8     $500 per student, correct?

    9                   THE DEFENDANT:     Yes, sir.     And I called the

   10     undercover agent.     He told me if you refer a student, you get a

   11     refer bonus off.

   12                   MR. WATERSTREET:      But that's what you asked for.

   13     You asked for -- originally you asked, at the very beginning

   14     you asked for a referral fee, and you got your tuition reduced?

   15                   THE DEFENDANT:     Yes, sir.     Refer bonus.

   16                   MR. WATERSTREET:      And then you got upset when you

   17     heard Avinash Thakallapally was being paid and you wanted to be

   18     paid as well?

   19                   THE DEFENDANT:     Yes, sir.

   20                   MR. WATERSTREET:      Okay.    And during that

   21     conversation you acknowledged that you had recruited for

   22     another school in the past, Silicon Valley, recruited eight

   23     students for $750.

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. WATERSTREET:      And he asked you what you
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                                                                                     24


    1     thought was a fair price.       You wouldn't give him what you

    2     thought was a fair price, and he told you he'd call you back

    3     and let you know what he thought would be a fair price?

    4                   THE DEFENDANT:     Yes, sir.

    5                   MR. WATERSTREET:      Okay.      And he said $500, you

    6     countered with 600, and eventually agreed on 500?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. WATERSTREET:      And shortly thereafter you sent

    9     applications for more students.

   10                   Now, back in September 18th, I know you're

   11     probably not going to remember the exact date, but around

   12     September 18, 2017 you sent the school a list of students that

   13     you had referred?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. WATERSTREET:      And that was approximately 31

   16     people?

   17                   THE DEFENDANT:     I don't remember number, but I

   18     sent him.

   19                   MR. WATERSTREET:      If I showed you the document,

   20     would that refresh your memory?

   21                   THE DEFENDANT:     Yeah.       I can't remember.

   22                   MR. WATERSTREET:      That was the attachment to the

   23     e-mail?

   24                   THE DEFENDANT:     Yes, sir.       Exactly.

   25                   MR. WATERSTREET:      How many students were listed
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                                                                                    25


    1     there.

    2                   THE DEFENDANT:     Thirty-one students.

    3                   MR. WATERSTREET:      And here's that e-mail you sent

    4     on September 18th, 2017?

    5                   THE DEFENDANT:     Yes, sir.     Yes, sir.

    6                   MR. WATERSTREET:      September 18, 2017.        That's from

    7     you, Santosh Sama?

    8                   THE DEFENDANT:     Yes, sir.

    9                   MR. WATERSTREET:      And then shortly thereafter in

   10     November you sent another e-mail with an attachement, correct?

   11     November 8th, 2017.

   12                   Is that, is this from you?

   13                   THE DEFENDANT:     Yes, sir.

   14                   MR. WATERSTREET:      And how many, how many students

   15     were you able to recruit between, well, how many students do

   16     you have listed now, the students you recruited?

   17                   THE DEFENDANT: Totally from my side it's like

   18     hundred plus.

   19                   MR. WATERSTREET:      Excuse me?

   20                   THE DEFENDANT:     Totally from my side it's like

   21     hundred plus.

   22                   MR. WATERSTREET:      A hundred plus?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. WATERSTREET:      Okay.    So, within a short period

   25     of time you went from 31 to 100.
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    1                   THE DEFENDANT:     By the month of 2018?

    2                   MR. WATERSTREET:      Okay.

    3                   THE DEFENDANT:     2018 ending, 2018 March, April I

    4     recruited, I referred like hundred plus students.              Here are the

    5     hundred plus.

    6                   MR. WATERSTREET:      And then in January 27 -- excuse

    7     me.

    8                   And than January 22nd you came and met with the

    9     agents at the school, correct?

   10                   THE DEFENDANT:     Yes, sir.

   11                   MR. WATERSTREET:      And you brought your ledger with

   12     you?

   13                   THE DEFENDANT:     Yes, sir.

   14                   MR. WATERSTREET:      And you allowed them to make a

   15     copy of your ledger?

   16                   THE DEFENDANT:     I gave them, but I don't know

   17     whether they make a copy or not.

   18                   MR. WATERSTREET:      Can you take a look at that

   19     document and see if that is a copy of your ledger?

   20                   THE DEFENDANT:     Yes, sir, it's my book.

   21                   MR. WATERSTREET:      And that one has listed more

   22     than 117 names on it?

   23                   THE DEFENDANT:     Yeah.       It's different persons in

   24     my indictment.     The other people in my indictment.

   25                   MR. WATERSTREET:      I'm sorry.      I didn't understand
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                                                                                           27


    1     what you said.

    2                   MR. MANSOUR:     If I may interject at this time.

    3                   Are all the names in that book attributed to you?

    4                   THE DEFENDANT:     No, it's not.       All the names are

    5     not for me.    It's other persons in the indictment.

    6                   MR. WATERSTREET:      Okay.       So -- - that's what I

    7     was going to ask you about next.         Thank you.

    8                   MR. MANSOUR:     I think that's what he used.

    9                   MR. WATERSTREET:      I gathered that.

   10                   There are some notations in here.            You have the

   11     letter "P" circled; you have "X" next to some names.

   12                   THE DEFENDANT:     Yes.

   13                   MR. WATERSTREET:      And you have "PH".

   14                   THE DEFENDANT:     Yeah.       It's a different persons in

   15     indictment, "P", Prem Kumar, in front of it; so that "PH" and I

   16     use initials of them for the identification.

   17                   MR. WATERSTREET:      Okay.      So, if there's a "P" next

   18     to the name that is Prem Kumar Rampeesa, or is that somebody

   19     else?

   20                   THE DEFENDANT:     Can I see?

   21                   MR. WATERSTREET:      Sure.

   22                   THE DEFENDANT:     Yeah.       Here I wrote the names of

   23     Prem Kumar.

   24                   MR. WATERSTREET:      Okay.      "P" is Prem Kumar who?

   25                   THE DEFENDANT:     These are the names of Prem.              All
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    1     these names are in this list.        These are the total list and

    2     this is a separate list of the person.

    3                   MR. WATERSTREET:      So on one of the pages of your

    4     ledger you have the name "Prem" at the top and you have a list

    5     of names that go down underneath --

    6                   THE DEFENDANT:     Yeah, you can see --

    7                   MR. WATERSTREET:      Let me finish my question.

    8                   -- underneath, correct?

    9                   THE DEFENDANT:     Yes.

   10                   MR. WATERSTREET:      And those are the people that

   11     you said Prem, is that Prem Kumar Rampeesa?

   12                   THE DEFENDANT:     Yes, sir.

   13                   MR. WATERSTREET:      He's the one that brought these

   14     people to you and that you eventually referred to the school?

   15                   THE DEFENDANT:     Yes, sir.

   16                   MR. WATERSTREET:      Okay.    Then -- and you also

   17     marked it with "P" --

   18                   THE DEFENDANT:     Yes.

   19                   MR. WATERSTREET:      -- in the overall list?

   20                   THE DEFENDANT:     Yes, sir.     This "P" names are

   21     all -- all these "P" names are here.

   22                   MR. WATERSTREET:      Okay.

   23                   Then you have, you have "PH" next, next to some of

   24     the names.

   25                   THE DEFENDANT:     The PH names belongs to Phanideep
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                                                                                       29


    1     Karnati.

    2                   MR. WATERSTREET:      So these are people that Mr.

    3     Karnati provided to you and that you eventually referred to the

    4     school?

    5                   THE DEFENDANT:     Yes, sir.

    6                   MR. WATERSTREET:      And what about the "X"?         Do you

    7     know what that was?      You marked an "X" next to a name.

    8                   THE DEFENDANT:     "X" is the people who did not join

    9     in the university.

   10                   MR. WATERSTREET:      Okay.    So these are people

   11     who --

   12                   THE DEFENDANT:     No --

   13                   MR. WATERSTREET:      Are you sure about that?

   14                   THE DEFENDANT:     These "X" people belongs to me.

   15     These are, these all can -- these all friends I have referred

   16     to the university.

   17                   MR. WATERSTREET:      All the X's you referred?

   18                   THE DEFENDANT:     Yes.

   19                   MR. WATERSTREET:      To the university?

   20                   THE DEFENDANT:     Yes, sir.

   21                   Yes, sir.

   22                   MR. WATERSTREET:      So you and the -- so it's a

   23     combination of you, Mr. Rampeesa, and Mr. Karnati that make up

   24     for the bulk of this list?

   25                   THE DEFENDANT:     Yes, sir.
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                                                                                     30


    1                    MR. WATERSTREET:     And Mr. Kandala as well,

    2     correct?

    3                    THE DEFENDANT:     He did not give any students to

    4     me, sir.

    5                    MR. WATERSTREET:     He did not?

    6                    THE DEFENDANT:     He did not give any students.

    7                    MR. WATERSTREET:     But you told the agents that he

    8     was your partner and you were splitting the money fifty-fifty,

    9     did you not?

   10                    THE DEFENDANT:     He is my friend so that I told

   11     him.

   12                    MR. WATERSTREET:     No.      You said he is your partner

   13     and you're splitting the money --

   14                    THE DEFENDANT:     I told him.      Undercover agent.

   15                    MR. WATERSTREET:     You told the agent that, right?

   16                    THE DEFENDANT:     Yes, sir.

   17                    MR. WATERSTREET:     And when you and Mr. Kandala

   18     collected the money, you had Mr. Kandala take the $20,000 and

   19     take the money, correct?

   20                    THE DEFENDANT:     Yes, sir.

   21                    MR. WATERSTREET:     And Mr. Kandala said that you,

   22     both you and he had made a lot of money and you were sending a

   23     lot of money over to India, correct?

   24                    THE DEFENDANT:     Yes, sir.

   25                    MR. WATERSTREET:     Now, do you recall how much
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    1     money you were paid or you made off of bringing -- let me back

    2     up for one second.

    3                   In June of 2018 you sent another list of the

    4     number of students that have been referred to you, by the

    5     school by you and the rest of your associates, did you not?

    6                   THE DEFENDANT:     In --

    7                   MR. WATERSTREET:      In June 8th, 2018 you sent a

    8     list of the students that you and your associates have referred

    9     to the school?

   10                   THE DEFENDANT:     Yes, sir.

   11                   MR. WATERSTREET:      I am going to show you a

   12     printout of that.     Is that --

   13                   THE DEFENDANT:     Yes, sir.

   14                   MR. WATERSTREET:      -- the document that you sent?

   15                   THE DEFENDANT:     Yes, sir.

   16                   MR. WATERSTREET:      And you sent a list of 497

   17     students that had been sent, correct?

   18                   THE DEFENDANT:     These students are including

   19     enrolled students and nonenrolled students, who had --

   20                   MR. WATERSTREET:      These are the students that you

   21     recruited and referred with you and your associates?

   22                   THE DEFENDANT:     Yes, sir.

   23                   MR. WATERSTREET:      Maybe not every single one of

   24     them enrolled --

   25                   THE DEFENDANT:     Yes, sir.
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                                                                                    32


    1                   MR. WATERSTREET:      -- but these were the students

    2     that you referred?

    3                   THE DEFENDANT: Yes, sir, I referred.

    4                   MR. WATERSTREET:      497 students?

    5                   THE DEFENDANT:     Yes, sir.

    6                   MR. WATERSTREET:      Now, how much money were you --

    7     as part of your agreement with the agents, you asked if you

    8     could collect money from students and offset that amount from

    9     what was owed by recruiting the students, correct?

   10                   A student paid you $2,500 for one of the quarters?

   11                   THE DEFENDANT:     Yes, sir.

   12                   MR. WATERSTREET:      You would be able to keep that

   13     $2,500 and that would give you payment for five students that

   14     you recruited, correct?

   15                   THE DEFENDANT:     Yes, sir.

   16                   MR. WATERSTREET:      Okay.    So, how much money

   17     overall did you collect from students during the time you were

   18     recruiting students to the school?

   19                   THE DEFENDANT:     Hundred plus thousand, sir.

   20                   MR. WATERSTREET:      Excuse me?

   21                   THE DEFENDANT:     Hundred plus.

   22                   MR. WATERSTREET:      Hundred thousand plus?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. WATERSTREET:      In June 8, 2018 at a meeting you

   25     said you got more than a 110,000 from, from the students,
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                                                                                    33


    1     correct?

    2                    THE DEFENDANT:     Yes, sir.    Hundred plus, maybe

    3     around that.

    4                    MR. WATERSTREET:     Hundred thousand, hundred ten

    5     thousand or more?

    6                    THE DEFENDANT:     Yes, sir.

    7                    MR. WATERSTREET:     And on top of that you were paid

    8     by the school as well for the students that you had recruited

    9     and your associates had recruited?

   10                    THE DEFENDANT:     Yes, sir.

   11                    MR. WATERSTREET:     Do you remember how much you

   12     were paid by the school?

   13                    THE DEFENDANT:     Can you repeat it again, sir?

   14                    MR. WATERSTREET:     How much money did you collect

   15     from the school directly paid in cash?

   16                    THE DEFENDANT:     Forty-nine thousand.

   17                    MR. WATERSTREET:     Two times you got $20,000,

   18     correct?

   19                    THE DEFENDANT:     Yes, sir.

   20                    MR. WATERSTREET:     And one time you had 9,000 wired

   21     to your bank account?

   22                    THE DEFENDANT:     Yes, sir.

   23                    MR. WATERSTREET:     Of those 497 students, how many

   24     of those did you personally recruit?

   25                    THE DEFENDANT:     It will be like 121, 30 students.
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                                                                                    34


    1     Around 120 plus.

    2                   MR. WATERSTREET:       Okay.   How many did Suresh?

    3                   THE DEFENDANT:     Suresh Kandala he gave me two,

    4     three friends to me.      It will be like not more than three or

    5     four.

    6                   MR. WATERSTREET:       How many of Prem?

    7                   MR. MANSOUR:     Your Honor, at this time I'd just

    8     ask what is -- what -- I would allow my client to talk directly

    9     about what happened with him, and with anybody else, I don't

   10     believe it's relevant at this time.

   11                   MR. WATERSTREET:       It's a conspiracy.

   12                   THE COURT:     I understand that, and all you have to

   13     do is have one person that he's working with.             We don't need to

   14     go into that much detail.

   15                   MR. WATERSTREET:       Okay.   I just want to make sure

   16     I covered the bases, your Honor.

   17                   THE COURT:     Okay.

   18                   MR. WATERSTREET:       My apologies.

   19                   At the time that you were recruiting these

   20     students to come to the school, you knew the students would be

   21     issued an I-20 form, correct?

   22                   THE DEFENDANT:     Yes, sir.

   23                   MR. WATERSTREET:       And that I-20 form would allow

   24     these students to stay in the United States?

   25                   THE DEFENDANT:     Yes, sir.
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                                                                                    35


    1                   MR. WATERSTREET:      And you knew that by having the

    2     students sign up at the University of Farmington, they would

    3     not be attending classes?

    4                   THE DEFENDANT:     Yes, sir.

    5                   MR. WATERSTREET:      They would be obtaining a

    6     document by fraud?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. WATERSTREET:      And that they would be able to

    9     use this fraudulent document to unlawfully stay here in the

   10     United States?

   11                   THE DEFENDANT:     Yes, sir.

   12                   MR. WATERSTREET:      To leave the United States and

   13     travel back to the United States?

   14                   THE DEFENDANT:     Yes, sir.

   15                   MR. WATERSTREET:      And by sending these students to

   16     the school, you would be making money off of this as well?

   17                   THE DEFENDANT:     Yes, sir.

   18                   MR. WATERSTREET:      And this was for your on private

   19     financial gain?

   20                   THE DEFENDANT:     Yes, sir.

   21                   MR. WATERSTREET:      And you also knew that when they

   22     received these I-20's that was evidence of their authorization

   23     to stay?

   24                   THE DEFENDANT:     Yes, sir.

   25                   MR. WATERSTREET:      And you knew that was, they were
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    1     obtaining it by fraud because they would not be obtaining any

    2     education at the University of Farmington?

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. WATERSTREET:      And you joined this agreement

    5     with your associates Suresh, Prem, Phanideep, on your own

    6     accord.   You weren't forced to do this, correct?

    7                   THE DEFENDANT:     No, sir.

    8                   MR. WATERSTREET:      You weren't -- okay, I think I

    9     asked a double negative, so I'm not sure.

   10                   Were you forced to suggest any of these students

   11     to go to University of Farmington?

   12                   THE DEFENDANT:     I did not force anybody.

   13                   MR. WATERSTREET:      No.      Were you forced to do this?

   14     Did somebody force you to do this?

   15                   THE DEFENDANT:     No, sir.       Nobody forced me.

   16                   MR. WATERSTREET:      And you agreed with these other

   17     people to do it as well, your associates to send students to

   18     the University of Farmington?

   19                   THE DEFENDANT: Yes, sir.

   20                   MR. WATERSTREET:      Correct?

   21                   THE DEFENDANT:     Yes, sir.

   22                   MR. WATERSTREET:      I want to make sure I have the

   23     date of one of the overt acts, your Honor.

   24                   You indicated you picked up money --

   25                   THE COURT:     All right.
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    1                   MR. WATERSTREET:       -- on more than one occasion

    2     from the school.     If I were to tell you on January 22nd, 2018

    3     you collected $20,000 from that school --

    4                   THE DEFENDANT:     Yes, sir.

    5                   MR. WATERSTREET:       -- would that be correct?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. WATERSTREET:       And then on June 8, 2018 you

    8     collected another $20,000 for recruiting students?

    9                   THE DEFENDANT:     Yes, sir.

   10                   MR. WATERSTREET:       And that's when you and Mr.

   11     Karnati sat down and talked about recruiting students at, for

   12     the University of Farmington?

   13                   THE DEFENDANT:     For referring students, sir.

   14                   MR. WATERSTREET:       I believe I've touched on

   15     everything concerning that factual basis.

   16                   THE COURT:     All right.

   17                   MR. WATERSTREET:       Can I just followup on something

   18     the Court talked about, his loss of rights, your Honor?

   19                   You understand that --

   20                   THE COURT:     Okay.    Go ahead.    Go ahead.

   21                   MR. WATERSTREET:       The judge told you you could be

   22     deported, potentially deported from the United States?

   23                   THE DEFENDANT:     Yes, sir.

   24                   MR. WATERSTREET:       You understand that?

   25                   THE DEFENDANT:     Understand, sir.
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    1                   MR. WATERSTREET:      You also understand that this

    2     could bar your reentry into the United States any time in the

    3     future?

    4                   THE DEFENDANT:     Yes, sir.

    5                   MR. WATERSTREET:      And it could also prevent you

    6     from ever becoming a U.S. Citizen?

    7                   THE DEFENDANT:     Yes, sir.

    8                   MR. WATERSTREET:      Thank you, your Honor.

    9                   THE COURT:     All right.      Mr. Mansour, do you have

   10     anything else to add or cover here?

   11                   MR. MANSOUR:     I do just briefly.

   12                   I know there was -- if I may?

   13                   THE COURT:     All right.

   14                   MR. MANSOUR:     There were a lot of numbers that

   15     were talked about just now, right?

   16                   THE DEFENDANT:     Yes, sir.

   17                   MR. MANSOUR:     A little bit louder, please.

   18                   THE DEFENDANT:     Yes, sir.

   19                   MR. MANSOUR:     When we were talking about referring

   20     students to the university and talking about the hundred plus,

   21     hundred and forty some numbers.

   22                   THE DEFENDANT:     Yes, sir.

   23                   MR. MANSOUR:     Were all of those for you directly

   24     or with some of the other members of the group?

   25                   THE DEFENDANT:     Some other members.
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                                                                                    39


    1                   MR. WATERSTREET:       So that number of 100, 140 may

    2     not be as accurate as --

    3                   THE DEFENDANT:     Yes, sir.

    4                   MR. MANSOUR:     So you're saying what you just

    5     remember on those numbers?

    6                   THE DEFENDANT:     Yes, sir.

    7                   MR. MANSOUR:     Okay.     And the dollar amount when we

    8     were talking about the hundred thousand plus, and then the

    9     49,000 --

   10                   THE DEFENDANT:     Yes, sir.

   11                   MR. MANSOUR:     -- that money you're estimating at

   12     this time; is that correct?

   13                   THE DEFENDANT:     Yes, sir.

   14                   MR. MANSOUR:     Is there -- and you're not hundred

   15     percent accurate with regards to that?

   16                   THE DEFENDANT:     Yes, sir.

   17                   MR. MANSOUR:     Thank you.     I just wanted to clarify

   18     those two points.

   19                   THE COURT:     All right.      Then are counsel satisfied

   20     with the factual basis and that I've complied with Rule 11 in

   21     terms of taking the plea?

   22                   MR. WATERSTREET:       Yes, your Honor.

   23                   MR. MANSOUR:     Yes, judge.

   24                   THE COURT:     Okay.     All right, then, I'm going to

   25     find that the defendant is fully competent and capable of
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                                                                                      40


    1     entering an informed plea; that he's aware of the nature of the

    2     charges and consequences of the plea, and that the plea of

    3     guilty is a knowing and voluntary plea supported by an

    4     independent factual basis as to each of the essential elements

    5     of the offense.

    6                   So, I'm going to accept the plea and find the

    7     defendant guilty of the offense.

    8                   And I'm going to refer the matter to the probation

    9     department for a presentence investigation and report.

   10                   And I'm scheduling the sentencing on the case for?

   11                   THE CASE MANAGER:      Tuesday, September 10th at

   12     2:30.

   13                   MR. WATERSTREET:      Your Honor, there's one matter

   14     concerning the forfeiture.

   15                   THE COURT:     Yes.

   16                   MR. WATERSTREET:      If I may?

   17                   THE COURT:     All right.

   18                   MR. WATERSTREET:      Your Honor, as the Court knows,

   19     there was not a Rule 11 Plea Agreement entered into.              There's

   20     still an outstanding forfeiture provision.           And the United

   21     States did seize approximate 1,300 some odd dollars from Mr.

   22     Sama's bank account.      The government is going to seek the

   23     forfeiture of that money and also an order for the balance of

   24     the money that he unlawfully obtained as a result of this

   25     criminal conduct.
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                                                                                    41


    1                   THE COURT:     Okay.

    2                   All right.     Do you understand that, Mr. Sama?

    3                   That money is going to be forfeited or taken from

    4     you that was involved in this case; do you understand that?

    5                   THE DEFENDANT:     Yes, sir.

    6                   THE COURT:     Okay.   And does that in any way affect

    7     your desire to plead guilty here?

    8                   THE DEFENDANT:     Yes, sir.

    9                   THE COURT:     You said it does affect your desire to

   10     plead guilty?

   11                   MR. MANSOUR:     If I may, judge?

   12                   THE COURT:     Okay.

   13                   MR. MANSOUR:     With regards to the forfeiture of

   14     the bank account, does that change your decision to plead

   15     guilty at this time?

   16                   So, let me repeat the question.

   17                   So there was a forfeiture that we talked about

   18     with regard to a Bank of America account?

   19                   THE DEFENDANT:     Yes.

   20                   MR. MANSOUR:     Roughly 1,000 or 1500 in that

   21     account?

   22                   THE DEFENDANT:     Yes.

   23                   MR. MANSOUR:     The government is asking to take

   24     that money in that account?

   25                   THE DEFENDANT:     Yes.
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                                                                                     42


    1                   MR. MANSOUR:     Does that money being taken from you

    2     change your decision to plead guilty at this time?

    3                   THE DEFENDANT:     Yeah.       I'm agreeing.

    4                   MR. MANSOUR:     You're agreeing -- so, you still

    5     want to go forward with the guilty plea?

    6                   THE DEFENDANT:     Yes.     I want to go forward with

    7     it.

    8                   THE COURT:     And I'm just looking at a second

    9     forfeiture bill of particulars, and was 57,000 seized from an

   10     account, or from Mr. Sama?

   11                   MR. WATERSTREET:       I don't have those numbers in

   12     front of me right now --

   13                   THE COURT:     Okay.

   14                   MR. WATERSTREET:       -- whether they were or not,

   15     your Honor.

   16                   THE COURT:     Okay.

   17                   MR. MANSOUR:     If I recall, I don't believe that

   18     was regarding Mr. Sama.       I think it was one of the other

   19     defendants.

   20                   THE COURT:     Okay.

   21                   MR. WATERSTREET:       It may have been one of the

   22     other defendants.

   23                   MR. MANSOUR:     I think.

   24                   MR. WATERSTREET:       Somebody else from my office is

   25     handling the forfeiture, your Honor.
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                                                                                    43


    1                   THE COURT:     Okay.

    2                   MR. WATERSTREET:       And I apologize for not having

    3     those numbers.

    4                   THE COURT:     Okay.    Because the document that I

    5     have says that it was in that amount.

    6                   But we'll clarify it before sentencing.

    7                   MR. WATERSTREET:       Thank you.

    8                   THE COURT:     Let's see.      Anything else we need to

    9     take up before we adjourn until sentencing?

   10                   MR. MANSOUR:     I think if we deal with the United

   11     States Attorneys on my end, just some property that he has,

   12     some personal property in the meantime.

   13                   THE COURT:     Okay.

   14                   MR. WATERSTREET:       Nothing from the U.S.

   15                   THE COURT:     Nothing more for the record, then?

   16                   MR. WATERSTREET:       No.

   17                   MR. MANSOUR:     No.    Thank you.

   18                   THE COURT:     Then, we'll be in recess on the case

   19     until sentencing in September.

   20                   MR. MANSOUR:     Thank you, judge.

   21                   THE COURT:     All right.      Thank you.

   22                   THE DEFENDANT:     Thank you, sir.

   23                   THE CASE MANAGER:       All rise.

   24                   Court is in recess.

   25             (At 11:44 a.m. proceedings concluded
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    1                              C E R T I F I C A T E

    2                  I, Merilyn J. Jones, Official Court Reporter of the

    3     United States District Court, Eastern District of Michigan,

    4     appointed pursuant to the provisions of Title 28, United States

    5     Code, Section 753, do hereby certify that the foregoing pages

    6     1-44, inclusive, comprise a full, true and correct transcript

    7     taken in the matter of the United States of America versus

    8     Santosh Reddy Sama, 19-cr-20026 on Wednesday, May 15, 2019.

    9

   10

   11                         /s/Merilyn J. Jones
                              Merilyn J. Jones, CSR, RPR
   12                         Federal Official Reporter
                              231 W. Lafayette Boulevard
   13                         Detroit, Michigan 48226

   14     Date: June 3, 2019

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